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                        UNITED STATES DISTRICT COURT
                                    For the
                            DISTRICT OF COLUMBIA

United States of America )
      v.                 )            CRIMINAL NO. 1:21-CR-00368(JDB)
Jody Lynn Tagaris        )
      Defendant          )
________________________)

                              NOTICE OF APPEARANCE

        COMES NOW, the defendant, JODY LYNN TAGARIS, by and through the
undersigned counsel and hereby enters an appearance in the above-styled cause and
further states that the undersigned will hereafter be responsible for all further proceedings
necessary in the above-styled cause.

                             CERTIFICATE OF SERVICE

        I HEREBY CERTIFY on the 23rd day of August, 2021, a copy of same was
electronically filed using the CM/ECF system and thus delivered to the parties of record
and pursuant to the rules of the Clerk of Court.


                                                      Respectfully submitted,

                                                      JEFF T. GORMAN LAW OFFICES


                                                      /s/ Jeff Gorman

                                                      ______________________________
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